CRIMINAL CASE COVER SHEET U.S. ATTORNEY'S OFFICE
Defendant Name: _ Tonya Walker.

Place of Offense (City & County): Hamilton County

 

 

 

 

 

 

Juvenile: Yes No _ xX Matter to be Sealed: Yes No xX
Interpreter: No X Yes Language:
Total # of Counts: Petty Misdemeanor (Class___) _1_ Felony
ORIGINAL INDICTMENT Count(s)
U.S.C. Citation(s) and Description of Offense Charged
Title 18, United States Code, Section 922(g)(3)
Set 1 . / . a 1
illegal user of controlled substance in possession of a firearm and ammunition

 

 

 

(Use tab key after entering counts to create additional rows)

 

 

 

 

SUPERSEDING INDICTMENT New count? | New Count Old
U.S.C. Citation(s) and Description of Offense YorN # Count #
Charged (if applicable)

 

 

 

 

 

Set 1

 

 

 

 

 

 

 

 

 

(Use tab key after entering counts to create additional rows)
Current Trial Date (if set): before Judge

Criminal Complaint Filed: No X Yes Case No.
Defendant on Supervised Release: Yes No
Violation Warrant Issued? No Yes Case No.

 

Related Case(s):

 

Case Number Defendant's attorney How related
Criminal Informations:
Pending criminal case: No Yes Case No.

New Separate Case Supersedes Pending Case

Name of defendant's attorney:

 

Retained: Appointed:
Date:_ May 29, 2019 Signature of AUSA: s/Kevin T. Brown

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